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EXHIBIT 133
AT&T, Samsung Launch Infuse 4G Smartphone

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AT&T, Samsung Launch Infuse 4G Smartphone
ARTICLE DATE: May 5, 2011
By Sascha Segan

AT&T and Samsung on Thursday announced the sale date and price
for the Infuse 4G, the carrier's first smartphone with the HSPA+ 21
speeds that we consider to be the minimum for true 4G. The phone will
go on sale on May 15 for $199 with a two-year contract.

First previewed at CES in January, the Infuse is an interesting phone:
it's unusually thin, long and wide. The Android 2.2 phone is of the
standard black-slab style, but it has a 4.5-inch, 800-by-480 screen.
That isn't higher resolution than the usual smartphone screen, but it's
wider. The screen also sports Samsung's Super AMOLED Plus
technology, which combines the increased outdoor visibility of Super
AMOLED with more subpixels for truer colors. The phone is also very
slim, at 9mm.

The Infuse has AT&T's fastest Internet speeds yet, but it's not quite the
fastest smartphone AT&T has to offer; with a single-core, 1.2-Ghz
Samsung processor, it's a bit slower than the dual-core Motorola Atrix.
It's still faster than most of the other smartphones on the market,
though.

Other specs include an 8-megapixel camera, Bluetooth and Wi-Fi. The phone comes with a 2GB memory card that can be
upgraded to 32GB.

Earlier today, AT&T senior vice president of devices Jeff Bradley told me that the carrier considered any phone with speeds of
HSPA 14.4 or higher to be 4G, when combined with the right network. Other folks, such as myself, Chris Ziegler of
thisismynext.com, and (at one point) T-Mobile chief network officer Neville Ray, consider HSPA+ 21 to be the minimum speed to
deliver an experience significantly faster than 3G phones. The Infuse also supports HSUPA, a key technology which allows for
fast upload speeds.

AT&T and Samsung are trying to attract buyers with a unique gimmick: a pre-loaded version of Angry Birds with an exclusive,
Infuse-only level that, when solved, makes players eligible for prizes. Don't laugh! People love Angry Birds.

The first 500,000 phones sold will come with a $25 credit towards Samsung's Media Hub movie store. The phone also streams
video from AT&T's U-Verse TV, along with other Android-powered media apps.

At $199, the Infuse costs $100 more than the HTC Inspire 4G, another big-screen Android phone, but the Infuse has both a faster
processor and faster Internet than the Inspire. The Motorola Atrix also costs 5199 and offers a faster processor, but it also can't
match the Infuse's modem speeds.

We'll have a review of the Samsung Infuse 4G soon.

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